Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 1 of 68 PageID #: 136




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   STINGRAY IP SOLUTIONS LLC,                      §
                                                   §
   v.                                              §       CASE NO. 2-22-cv-00420-JRG-RSP
                                                   §                 (Lead Case)
   RESIDEO TECHNOLOGIES, INC., et al.              §


   STINGRAY IP SOLUTIONS LLC,                      §
                                                   §
           Plaintiff,                              §
                                                   §       CASE NO. 2:22-cv-00421-JRG-RSP
   v.                                              §              (Member Case)
                                                   §
   ADT INC. and ADT LLC,                           §
                                                   §
            Defendants.                            §


        PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff Stingray IP Solutions LLC (“Stingray”) files this First Amended Complaint in this

  Eastern District of Texas (the “District”) against Defendants ADT Inc. and ADT LLC dba ADT

  Security Services, CAM CONNECTIONS, PROTECTION ONE and Protect Your Home

  (collectively, “Defendants” or “ADT”) for infringement of U.S. Patent No. 7,224,678 (the “’678

  patent”), U.S. Patent No. 7,440,572 (the “’572 patent”), U.S. Patent No. 7,441,126 (“the “’126

  patent”), and U.S. Patent No. 7,986,963 (the “’963 patent”).

                                           THE PARTIES

          1.    Stingray IP Solutions LLC (“Stingray” or “Plaintiff”) is a Texas limited liability

  company, located at 6136 Frisco Sq. Blvd., Suite 400, Frisco, TX 75034.

          2.    On information and belief, Defendant ADT Inc. is a corporation organized under the

  laws of Delaware, USA, with its principal place of business and corporate headquarters at 1501



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 1
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 2 of 68 PageID #: 137




  Yamato Road, Boca Raton, Florida, USA 33431. ADT Inc. may be served with process via its

  registered agents, including The Corporation Trust Company, Corporation Trust Center 1209

  Orange St, Wilmington, DE, USA 19801. ADT Inc. is a publicly traded company on the New York

  Stock Exchange under the symbol “ADT.”

         3.    On information and belief, Defendant ADT LLC is a company organized under the

  laws   of    Delaware,     USA,     with     its   principal   place   of   business    located    at

  1501 Yamato Road, Boca Raton, Florida, USA 33431. ADT LLC may be served with process via

  its registered agents, including C T Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX,

  USA 75201-3136. ADT Inc. and ADT LLC share the same location for their principal places of

  business. Moreover, ADT LLC is a wholly owned and controlled subsidiary of ADT Inc. ADT

  LLC is part of a group of companies operating under the name “ADT” of which ADT Inc. is the

  parent and controlling entity.

         4.    “ADT Inc., together with its wholly-owned subsidiaries,” referred to collectively as

  “ADT” in ADT Inc.’s annual financial report for 2021, “is a leading provider of security,

  interactive, and smart home solutions serving residential, small business, and commercial

  customers in the United States.” See ADT INC., Form 10-K Annual Financial Report For the Fiscal

  Year    Ended      December       31,      2021,    p.    4,    available    for    download      at

  https://investor.adt.com/financials/sec-filings/default.aspx (last visited Oct. 6, 2022) [hereinafter

  “Annual Financial Report”]. In May 2016, ADT Inc. acquired The ADT Security Corporation,

  which significantly increased ADT’s market share in the security systems industry making ADT

  one of the largest monitored security companies in the U.S. and, at the time, Canada. Id. “[ADT]

  primarily conducts business under the ADT brand name.” Id. at F-10, p. 89. ADT Inc. states that




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 2
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 3 of 68 PageID #: 138




  “substantially all of the Company’s assets are located in the U.S. as of December 31, 2021 and

  2020.” Id. at F-21, p. 100.

         5.    ADT’s “mission is to empower customers to protect and connect to what matters most

  - their families, homes, and businesses - by delivering safe, smart, and sustainable lifestyle-driven

  solutions through professionally installed, do-it-yourself (“DIY”), and mobile or other digital-

  based offerings supported by our 24/7 professional monitoring services,” and “[t]he ADT brand is

  one of the most recognized and trusted brands in the security industry, which [ADT] believe[s] is

  a key competitive advantage and contributor to [ADT’s] success due to the importance customers

  place on reputation and trust when purchasing [ADT’s] products and services.” Id. ADT Inc.

  additionally states that “[t]he strength of [ADT’s] brand is based upon a long-standing record of

  delivering high-quality, reliable products and services; expertise in system sales, installation, and

  monitoring; and superior customer care, all driven by [ADT’s] industry-leading experience and

  knowledge.” Id. ADT “serve[s] [its] customers through [its] nationwide sales and service offices;

  monitoring and support centers; and a large network of security, home-automation, and solar-

  installation professionals in the U.S.” and “[a]s of December 31, 2021, [ADT] had approximately

  6.6 million recurring revenue customers.” Id.

         6.    “[ADT] ha[s] a network of over 250 sales and service offices and three regional

  distribution centers, which are supported by 17 multiuse sales, customer, and field support

  locations housing our nine UL-listed monitoring centers and four national sales centers.” Id. ADT

  Inc., further states that, “[w]hile select locations may primarily support one segment or market,

  such as our NAOC which supports our Commercial business, these multi-use locations primarily

  support our business as a whole.” Id.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 3
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 4 of 68 PageID #: 139




         7.    ADT Inc. states that “[ADT] evaluate[s] and report[s] [ADT’s] segment information

  based on the manner in which [ADT’s] Chief Executive Officer, who is the chief operating

  decision maker (the “CODM”), evaluates performance and allocates resources.” Id. at p. 6. “Prior

  to 2021, [ADT] had a single operating and reportable segment,” but “beginning in the first quarter

  of 2021, [ADT] reported results in two operating and reportable segments, Consumer and Small

  Business (“CSB”) and Commercial.” Id. “Upon consummation of the Sunpro Solar Acquisition in

  the fourth quarter of 2021, [ADT] began reporting results for a third operating and reportable

  segment related to the ADT Solar business (‘Solar’).” Id.

         8.    On information and belief, ADT, including parent ADT Inc. along with its

  subsidiaries, are engaged in research and development (including, for example, “ongoing

  technological innovations”), manufacturing, importation, distribution, sales, installation,

  servicing, monitoring and related technical services for: (i) “integrated security, interactive, and

  automation systems, and other related offerings,” with each activity being conducted “for

  residential homeowners, small business operators, and other individual consumers of security and

  automation systems” in the United States and (ii) “integrated security, interactive, and automation

  systems, fire detection and suppression systems, and other related offerings” for “larger businesses

  with more expansive facilities (typically larger than 10,000 square feet) and multi-site operations,

  which often require more sophisticated integrated solutions” in the United States. See Id. at pp. 6-

  11. ADT’s products are (i) manufactured outside the U.S. and then imported into the United States

  or (ii) manufactured inside the U.S., and distributed, and sold to end-users via the internet, brick-

  and-mortar stores and/or via dealers in the U.S., in Texas and the Eastern District of Texas.

         9.    On information and belief, ADT maintains a corporate presence in the United States,

  including in Texas and in this District, via at least its wholly owned and controlled U.S.-based



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 4
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 5 of 68 PageID #: 140




  subsidiaries, including, for example, ADT LLC dba ADT Security Services, which is a Delaware

  company having multiple offices in this District, including at least two offices in Tyler, Texas

  located at 470 DC Dr, Tyler, TX 75701 and 215 Winchester Drive, Suite 105, Tyler, TX 75701,

  and a Beaumont Office located at 7415 Eastex Plaza Drive, Suite 8, Beaumont, TX 77708. See

  Annual Financial Report, Exh. 21.1 at p. 652; Home Security Tyler,                         ADT.COM,

  https://www.adt.com/local/tx/tyler? (last visited Oct. 5, 2022); Home Security Beaumont,

  ADT.COM,   https://www.adt.com/local/tx/beaumont? (last visited Oct. 13, 2022). On behalf and for

  the benefit of Defendants, ADT coordinates the importation, distribution, marketing, offers for

  sale, sale, and use of the ADT’s products in the U.S. For example, ADT maintains distribution

  channels in the U.S. for ADT’s products via online stores, distribution partners, retailers, reseller

  partners, dealers, and other related service providers. Local Home Security Monitoring in Texas,

  ADT.COM,     https://www.adt.com/local/tx    (last   visited   Oct.   5,   2022);   blue   by   ADT,

  https://www.bluebyadt.com/ (last visited Oct. 5, 2022) (offering security products, for example,

  smart home hub, Blue by ADT app, door/window sensors, motion sensors, mobile app, keypad,

  cameras, smoke detector, flood and temperature sensors, Wi-Fi range extenders, and keychain

  remote, under the slogan: “DIY security from ADT. Yes, that ADT.”).

         10.   As a result, via at least ADT’s established distribution channels operated and

  maintained by at least Defendant ADT Inc. and ADT’s U.S.-based subsidiaries, including wholly

  owned and controlled Defendant ADT LLC, ADT products are distributed, sold, advertised, and

  used nationwide, including being sold to consumers via ADT dealers operating in Texas and this

  District. Thus, Defendants do business in the U.S., the state of Texas, and in this District.

                                   JURISDICTION AND VENUE
         11.   This action arises under the patent laws of the United States, namely 35 U.S.C. §§

  271, 281, and 284-285, among others.

  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 5
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 6 of 68 PageID #: 141




          12.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

  1338(a).

          A.    Defendant ADT Inc.
          13.   On information and belief, ADT Inc. is subject to this Court’s specific and general

  personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at least to

  its substantial business in this State and District, including: (A) at least part of its infringing

  activities alleged herein which purposefully avail the Defendant of the privilege of conducting

  those activities in this state and this District and, thus, submits itself to the jurisdiction of this court;

  and (B) regularly doing or soliciting business, engaging in other persistent conduct targeting

  residents of Texas and this District, and/or deriving substantial revenue from infringing goods

  offered for sale, sold, and imported and services provided to and targeting Texas residents and

  residents of this District vicariously through and/or in concert with its alter egos, agents,

  intermediaries, related entities, distributors, dealers, importers, customers, subsidiaries, members,

  segments, companies, brands, and/or consumers. For example, ADT Inc. is related to, owns, and/or

  controls subsidiaries (for example, ADT LLC and The ADT Security Corporation), business

  segments (for example, its Consumer and Small Business (“CSB”) segment and Commercial

  segment) and additional business and/or brands (for example, ADT, Blue by ADT, Pulse, ADT

  Security Services, CAM CONNECTIONS, PROTECTION ONE, Protect Your Home, brands

  including “ADT,” and brands and registered and applied-for marks listed by the United States

  Patent and Trademark Office’s Trademark Electronic Search System as owned by The ADT

  Security Corporation or ADT Holdings, Inc.) that have a significant business presence in the U.S.

  and in Texas. Such a presence furthers the development, design, manufacture, importation,

  distribution, sale, and use (including by inducement) of infringing ADT products in Texas,

  including in this District.

  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 6
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 7 of 68 PageID #: 142




         14.   This Court has personal jurisdiction over Defendant ADT Inc., directly and/or

  through the activities of ADT Inc.’s intermediaries, agents, related entities, distributors, importers,

  customers, subsidiaries, and/or consumers, including through the activities of Defendant ADT

  LLC, other members, segments, companies and/or brands of ADT (e.g., ADT LLC, The ADT

  Security Corporation, ADT Holdings, Inc., ADT, Blue by ADT, Pulse, ADT Security Services,

  CAM CONNECTIONS, PROTECTION ONE, Protect Your Home, brands including “ADT,” and

  brands and registered and applied-for marks listed by the United States Patent and Trademark

  Office’s Trademark Electronic Search System as owned by The ADT Security Corporation or

  ADT Holdings, Inc.), and U.S.-based subsidiaries. Through direction and control of these entities,

  ADT Inc. has committed acts of direct and/or indirect patent infringement within Texas, and

  elsewhere within the United States, giving rise to this action and/or has established minimum

  contacts with Texas such that personal jurisdiction over ADT Inc. would not offend traditional

  notions of fair play and substantial justice.

         15.   On information and belief, ADT Inc. controls or otherwise directs and authorizes all

  activities of its subsidiaries and related entities, including, but not limited to Defendant ADT LLC

  and The ADT Security Corporation, and other members, segments, companies and/or brands of

  ADT. See, e.g., Home Security Tyler,     ADT.COM,    https://www.adt.com/local/tx/tyler (last visited

  Oct. 6, 2022) (Terms of Use stating, “These ADT Website Terms and Conditions of Use (the

  ‘Terms’) govern your use [sic] any websites that are owned or operated by ADT LLC, d/b/a ADT

  Security Services (‘ADT,’ ‘we,’ ‘us’ or ‘our’), and which contain a link to the Terms (collectively,

  and together with all services available through such websites, the ‘Site’)”); Certification of Chief

  Executive Officer, Annual Financial Report, Exh. 32.1 at p. 656; Certification of Chief Financial

  Officer, Annual Financial Report, Exh. 32.2 at p. 657; Annual Financial Report, F-10 at p. 89



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 7
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 8 of 68 PageID #: 143




  (“[ADT] primarily conducts business under the ADT brand name.”). For example, the President

  and Chief Executive Officer is the same for both ADT LLC and ADT Inc. See, e.g., Certification

  of Chief Executive Officer, Annual Financial Report, Exh. 32.1 at p. 656 (listing “James D.

  DeVries” as “President and Chief Executive Officer of ADT Inc.”); Management, Business

  Organizations          Inquiry        –         View         Entity,        DIRECT.SOS.STATE.TX.US,

  https://direct.sos.state.tx.us/acct/acct-login.asp (last visited Oct. 13, 2022) (via login to Texas

  SOSDirect, selecting menu item labeled “Business Organizations,” following link entitled “Find

  – Entity,” searching for “ADT LLC”, selecting the search result for “ADT LLC” and the tab

  labeled “MANAGEMENT”) (listing “DeVries James D” as “President and Chief Executive

  Of[ficer]”of ADT LLC). Directly via its agents in the U.S. and via at least distribution partners,

  retailers, reseller partners, dealers, professional installers, and other service providers, ADT Inc.

  has placed and continues to place infringing ADT products into the U.S. stream of commerce.

  Examples include the manufacture and/or importation of ADT products into the United States.

  See, e.g., Annual Financial Report, pp. 6-11. ADT Inc. has placed such products into the stream

  of commerce with the knowledge and understanding that such products are, will be, and continue

  to be sold, offered for sale, and/or imported into this District and the State of Texas. See Litecubes,

  LLC v. Northern Light Products, Inc., 523 F.3d 1353, 1369-70 (Fed. Cir. 2008) (“[T]he sale [for

  purposes of § 271] occurred at the location of the buyer.”); see also Semcon IP Inc. v. Kyocera

  Corporation, No. 2:18-cv-00197-JRG, 2019 WL 1979930, at *3 (E.D. Tex. May 3, 2019) (denying

  accused infringer’s motion to dismiss because plaintiff sufficiently plead that purchases of

  infringing products outside of the United States for importation into and sales to end users in the

  U.S. may constitute an offer to sell under § 271(a)).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 8
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 9 of 68 PageID #: 144




         16.   On information and belief, ADT utilizes established distribution channels to

  distribute, market, offer for sale, sell, service, and/or warrant infringing products directly to

  consumers and other users, including providing links via its own website to online stores, retailers,

  detailers, resellers, distributors, and dealers offering such products and related services for sale.

  See ADT Security Local Service Areas, ADT.COM, https://www.adt.com/local (last visited Oct. 6,

  2022); blue by ADT,    BLUEBYADT.COM,      https://www.bluebyadt.com/ (last visited Oct. 6, 2022);

  ADT          OUTDOOR              CAMERA            PRO          1080P,          ZIONSSECURITY.COM,

  https://zionssecurity.com/product/adt-outdoor-camera-pro-1080p/ (last visited Oct. 6, 2022) (“The

  ADT Outdoor Camera Pro 1080P is perfect if you want to see your driveway or backyard from

  your ADT app. It works with both the Pulse and Control app. It is a weatherproof, infrared, WiFi

  camera with 1080P HD Quality Video!”). Such ADT products and/or services have been sold from

  and/or in both brick-and-mortar and/or online retail stores within this District and in Texas, with

  examples being ADT Security Services offices located in Tyler, Texas, an ADT Security Services

  Office located in Beaumont, Texas, locations listed on the ADT website, nationwide dealers or

  distributors, and at least one nationwide online retailer or online retail store. See, e.g., Home

  Security Tyler,   ADT.COM,   https://www.adt.com/local/tx/tyler? (last visited Oct. 5, 2022); Home

  Security Beaumont,     ADT.COM,    https://www.adt.com/local/tx/beaumont? (last visited Oct. 13,

  2022); blue by ADT,    BLUEBYADT.COM,      https://www.bluebyadt.com/ (last visited Oct. 6, 2022);

  ADT          OUTDOOR              CAMERA            PRO          1080P,          ZIONSSECURITY.COM,

  https://zionssecurity.com/product/adt-outdoor-camera-pro-1080p/ (last visited Oct. 6, 2022).

  Additionally, ADT products, including infringing products and/or services, are and have been sold

  nationwide, in Texas and this District via, for example, direct sales, at least one online retail store,

  and dealers. See, e.g., ADT Doorbell Camera, ADT.COM, https://www.adt.com/doorbell-camera



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 9
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 10 of 68 PageID #: 145




  (last visited Oct. 6, 2022); Outdoor Security Cameras, ADT.COM, https://www.adt.com/outdoor-

  security-camera (last visited Oct. 6, 2022) (“Only requires a power source and Wi-Fi

  connection.”); Indoor Security Cameras, ADT.COM, https://www.adt.com/indoor-security-camera

  (last visited Oct. 6, 2022) (“Place indoor cameras anywhere in your home within Wi-Fi signal

  range of the control panel.”); ADT Command, ADT.COM, https://www.adt.com/command (last

  visited Oct. 6, 2022); How to configure Wi-Fi on your ADT Command panel,             YOUTUBE.COM,

  https://www.youtube.com/watch?v=ZjNP95AeMZ4 (last visited Oct. 6, 2022); Smart Home,

  ADT.COM, https://www.adt.com/shop/packages/smart-home.html (last visited Oct. 6, 2022)

  (showing the Secondary Wireless Touchscreen has a “Wi-Fi” frequency of operation); What Are

  Wireless      Security     Cameras,        and      Do      I     Need       One?,      ADT.COM,

  https://www.adt.com/resources/what-are-wireless-security-cameras (last visited Oct. 6, 2022)

  (“ADT cameras use an encrypted wireless protocol known as WPA2, an industry-recognized

  method to limit wireless network access.”); Wireless Outdoor Camera,             BLUEBYADT.COM,

  https://www.bluebyadt.com/shop/blue-outdoor-camera.html (last visited Oct. 6, 2022); Blue by

  ADT Doorbell Camera,     SUPPORT.BLUEBYADT.COM,       https://support.bluebyadt.com/s/article/Blue-

  by-ADT-Doorbell-Cameras (last visited Oct. 6, 2022). ADT wireless security cameras are offered

  for sale in this District at least via ADT Security Services Offices at 4706 DC Dr, Tyler, TX 75701,

  at 215 Winchester Drive, Suite 105, Tyler, TX 75701, and at 7415 Eastex Plaza Drive, Suite 8,

  Beaumont, TX 77708, and online at least by bluebyadt.com. See, e.g., Home Security Tyler,

  ADT.COM,   https://www.adt.com/local/tx/tyler? (last visited Oct. 5, 2022); Home Security

  Beaumont, ADT.COM, https://www.adt.com/local/tx/beaumont? (last visited Oct. 13, 2022); blue by

  ADT, BLUEBYADT.COM, https://www.bluebyadt.com/ (last visited Oct. 6, 2022); What Are Wireless

  Security Cameras, and Do I Need One?, ADT.COM, https://www.adt.com/resources/what-are-



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 10
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 11 of 68 PageID #: 146




  wireless-security-cameras (last visited Oct. 6, 2022) (“ADT cameras use an encrypted wireless

  protocol known as WPA2, an industry-recognized method to limit wireless network access.”).

  ADT Inc., via its wholly owned and controlled subsidiaries, also provides application software

  (“apps”) for download and use in conjunction with and as a part of the wireless communication

  network that connects ADT products and other network devices. See, e.g., Apps for your mobile

  lifestyle, ADT.COM, https://www.adt.com/apps (last visited Oct. 6, 2022) (showing ADT SoSecure

  app, ADT Control app, and noting integration of Google Assistant-enabled Google Nest Mini with

  the ADT system enables voice commands of security, locks, lights, music and more); ADT PULSE

  APP, ADT.COM, https://www.adt.com/pulse (last visited Oct. 6, 2022). These apps are available via

  digital distribution platforms operated, for example, by Apple Inc. and Google for download by

  users and execution on smartphone devices. See, e.g., Apps for your mobile lifestyle, ADT.COM,

  https://www.adt.com/apps (last visited Oct. 6, 2022) (“Download the free app from the Apple or

  Google Play Store.”).

         17.   Based on ADT Inc.’s connections and relationship with manufacturers, dealers,

  retailers, and digital distribution platforms, ADT Inc. knows that Texas is a termination point of

  the established distribution channel, namely online and brick-and-mortar stores offering ADT

  products and related services and software to third-party manufacturers, distribution partners,

  retailers (including national retailers), reseller partners, dealers, service providers, consumers, and

  other users in Texas. ADT Inc., therefore, has purposefully directed its activities at Texas, and

  should reasonably anticipate being brought into this Court, at least on this basis. See Icon Health

  & Fitness, Inc. v. Horizon Fitness, Inc., 2009 WL 1025467, at (E.D. Tex. 2009) (finding that “[a]s

  a result of contracting to manufacture products for sale in” national retailers’ stores, the defendant




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 11
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 12 of 68 PageID #: 147




  “could have expected that it could be brought into court in the states where [the national retailers]

  are located”).

          18.   On information and belief, ADT Inc. alone and in concert with other related entities

  such as Defendant ADT LLC, and subsidiaries, and members, segments, companies and/or brands

  of ADT, manufactures and purposefully places infringing ADT products in established distribution

  channels in the stream of commerce, including in Texas, via third-party manufacturers,

  distributors, dealers, and reseller partners, such as at least those operating online and/or those listed

  on ADT’s website. As an example, ADT Inc. manufactures ADT products in Texas and/or imports

  ADT products to Texas directly and/or through a related entity or subsidiary and directly sells and

  offers for sale infringing ADT products in Texas to resellers or dealers. For example, ADT

  products including at least smart home and video packages are offered for sale at ADT Security

  Services offices and/or authorized providers located in this District in McKinney, TX, for example,

  at 1720 N Central Expy, McKinney, TX 75070. See, e.g., SafeStreets, HOMESCURITYSMITH.COM,

  https://homesecuritysmith.com/adt-security-locations/texas/mckinney-tx/ (last visited Oct. 6,

  2022) (offering individually customized & installed packages “From basic packages to smart home

  and video remote monitoring” via ADT Authorized Provider Safe Streets USA); McKinney TX,

  ADT®      Home      Security    Deals     and    Alarm     System     Specials,    HOMESALARM.COM,

  https://www.homesalarm.com/texas/adt-mckinney-tx/ (last visited Oct. 6, 2022) (offering

  professionally customized & installed “Smart home security and video packages” via

  Homesalarm.com); What Are Wireless Security Cameras, and Do I Need One?, ADT.COM,

  https://www.adt.com/resources/what-are-wireless-security-cameras (last visited Oct. 6, 2022)

  (“ADT cameras use an encrypted wireless protocol known as WPA2, an industry-recognized

  method to limit wireless network access.”). These suppliers, distributors, dealers, and/or resellers



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 12
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 13 of 68 PageID #: 148




  import, advertise, offer for sale and/or sell ADT products and/or related services, such as

  consultation and installation, via their own websites to U.S. consumers, including to consumers in

  Texas and this District. Based on ADT Inc.’s connections and relationship, including supply

  contracts and other agreements with the U.S.- and Texas-based suppliers, distributors, dealers,

  and/or resellers, such as at least Safe Streets USA, ADT Inc. knows and has known that Texas is

  a termination point of the established distribution channels for ADT products. ADT Inc., alone and

  in concert with subsidiaries Defendant ADT LLC, and U.S.-based Members, segments, companies

  and/or brands of ADT has purposefully directed its activities at Texas, and should reasonably

  anticipate being brought in this Court, at least on this additional basis. See Ultravision

  Technologies, LLC v. Holophane Europe Limited, 2020 WL 3493626, at *5 (E.D. Tex. 2020)

  (finding sufficient to make a prima facie showing of personal jurisdiction allegations that

  “Defendants either import the products to Texas themselves or through a related entity”); see also

  Bench Walk Lighting LLC v. LG Innotek Co., Ltd et al., Civil Action No. 20-51-RGA, 2021 WL

  65071, at *7-8 (D. Del., Jan. 7, 2021) (denying motion to dismiss for lack of personal jurisdiction

  based on the foreign defendant entering into supply contract with U.S. distributor and the

  distributor sold and shipped defendant’s products from the U.S. to the a customer in the forum

  state).

            19.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(c) and 1400(b). As

  alleged herein, Defendant ADT Inc. has committed acts of infringement in this District. As further

  alleged herein, Defendant ADT Inc., via its own operations and/or employees, has a regular and

  established place of business in this District, for example, in Smith County, at 4706 DC Dr, Tyler,

  TX 75701, at 215 Winchester Drive, Suite 105, Tyler, TX 75701, and in Jefferson County, at 7415

  Eastex Plaza Drive, Suite 8, Beaumont, TX 77708, among other ADT locations owned, leased



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 13
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 14 of 68 PageID #: 149




  and/or operated in this District. Accordingly, ADT Inc. may be sued in this district under 28 U.S.C.

  § 1400(b).

          B.    Defendant ADT LLC
          20.   On information and belief, Defendant ADT LLC is subject to this Court’s specific

  and general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due

  at least to its substantial business in this State and this District, including: (A) at least part of its

  infringing activities alleged herein which purposefully avail the Defendant of the privilege of

  conducting those activities in this state and this District and, thus, submits itself to the jurisdiction

  of this court; and (B) regularly doing or soliciting business, engaging in other persistent conduct

  targeting residents of Texas and this District, and/or deriving substantial revenue from infringing

  goods offered for sale, sold, and imported and services provided to and targeting Texas residents

  and residents of this District vicariously through and/or in concert with its partners, alter egos,

  intermediaries, agents, distributors, importers, customers, subsidiaries, and/or consumers. For

  example, ADT LLC and parent Defendant ADT Inc. and ADT Inc.’s U.S.-based subsidiaries, and

  members, segments, companies and/or brands of ADT manufacture, import, distribute, offer for

  sale, sell, and induce infringing use of ADT products to distribution partners, retailers (including

  national retailers), resellers, dealers, service providers, consumers, and other users.

          21.   On information and belief, this Court has personal jurisdiction over ADT LLC,

  directly and/or indirectly via the activities of ADT LLC’s intermediaries, agents, related entities,

  distributors, importers, customers, subsidiaries, and/or consumers, including parent Defendant

  ADT Inc. and U.S.-based subsidiaries, and members, segments, companies and/or brands of ADT.

          22.   On information and belief, ADT LLC utilizes established distribution channels to

  distribute, market, offer for sale, sell, service, and/or warrant infringing products directly to

  consumers and other users, including offering such products and/or related services for sale. ADT

  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 14
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 15 of 68 PageID #: 150




  products and services have been sold from and/or in both brick-and-mortar stores and online retail

  stores by entities within this District and in Texas. Alone and in concert with or via direction and

  control of or by at least these entities, ADT LLC has committed acts of direct and/or indirect patent

  infringement within Texas, and elsewhere within the United States, giving rise to this action and/or

  has established minimum contacts with Texas. For example, ADT LLC operates within a global

  network of manufacturing, sales and distribution of ADT products that includes subsidiaries of

  ADT Inc., retail stores, showrooms, dealers, resellers, professional installers, and/or distributors

  operating in Texas, including this District.

         23.   As another example, on information and belief, ADT LLC maintains an office in this

  District through at least brick-and-mortar locations at 4706 DC Dr, Tyler, TX 75701, at 215

  Winchester Drive, Suite 105, Tyler, TX 75701, and at 7415 Eastex Plaza Drive, Suite 8, Beaumont,

  TX     77708.      See.,    e.g.,    See,       e.g.,   Home     Security     Tyler,     ADT.COM,

  https://www.adt.com/local/tx/tyler? (last visited Oct. 5, 2022); Home Security Beaumont,

  ADT.COM, https://www.adt.com/local/tx/beaumont? (last visited Oct. 13, 2022); Account Number

  40100151332000               Tax               Year         2022,            SMITH            CAD,

  https://www.smithcad.org/Search/PropertySearch.html (showing that “ADT LLC” owns property

  located at 4706 DC DR, Tyler, TX); Property ID: 325677 For Year 2022, JEFFERSON CAD,

  https://esearch.jcad.org/Property/View/325677 (showing that “ADT LLC” owns property located

  in Beaumont, TX).

         24.   On information and belief, as a part of ADT’s global manufacturing and distribution

  network, ADT LLC also purposefully places infringing ADT products in established distribution

  channels in the stream of commerce, including in Texas, via distribution partners, retailers

  (including national retailers), resellers, dealers, brand ambassadors, service providers, consumers,



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 15
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 16 of 68 PageID #: 151




  and other users. See, e.g., Home Security Tyler, ADT.COM, https://www.adt.com/local/tx/tyler? (last

  visited        Oct.       5,      2022);        Home        Security      Beaumont,        ADT.COM,

  https://www.adt.com/local/tx/beaumont? (last         visited Oct. 13, 2022); blue by ADT,

  BLUEBYADT.COM,         https://www.bluebyadt.com/ (last visited Oct. 6, 2022); ADT OUTDOOR

  CAMERA PRO 1080P,              ZIONSSECURITY.COM,      https://zionssecurity.com/product/adt-outdoor-

  camera-pro-1080p/ (last visited Oct. 6, 2020) (“The ADT Outdoor Camera Pro 1080P is perfect if

  you want to see your driveway or backyard from your ADT app. It works with both the Pulse and

  Control app. It is a weatherproof, infrared, WiFi camera with 1080P HD Quality Video!”);

  SafeStreets,           HOMESCURITYSMITH.COM,             https://homesecuritysmith.com/adt-security-

  locations/texas/mckinney-tx/ (last visited Oct. 6, 2022) (offering individually customized &

  installed packages “From basic packages to smart home and video remote monitoring” via ADT

  Authorized Provider Safe Streets USA); McKinney TX, ADT® Home Security Deals and Alarm

  System Specials,      HOMESALARM.COM,      https://www.homesalarm.com/texas/adt-mckinney-tx/ (last

  visited Oct. 6, 2022) (offering professionally customized & installed “Smart home security and

  video packages” via Homesalarm.com); What Are Wireless Security Cameras, and Do I Need

  One?, ADT.COM, https://www.adt.com/resources/what-are-wireless-security-cameras (last visited

  Oct. 6, 2022) (“ADT cameras use an encrypted wireless protocol known as WPA2, an industry-

  recognized method to limit wireless network access.”). For example, ADT LLC provides

  infringing ADT product under the ADT brand and blue by ADT brand. Furthermore, ADT wireless

  doorbell cameras, outdoor security cameras, indoor security cameras, ADT command panels, and

  touchscreens are offered for sale in this District by at least ADT’s local offices and/or nationwide

  online retail stores, for example, at adt.com and bluebyadt.com. See, e.g., ADT Doorbell Camera,

  ADT.COM, https://www.adt.com/doorbell-camera (last visited Oct. 6, 2022); Outdoor Security



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 16
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 17 of 68 PageID #: 152




  Cameras, ADT.COM, https://www.adt.com/outdoor-security-camera (last visited Oct. 6, 2022)

  (“Only requires a power source and Wi-Fi connection.”); Indoor Security Cameras, ADT.COM,

  https://www.adt.com/indoor-security-camera (last visited Oct. 6, 2022) (“Place indoor cameras

  anywhere in your home within Wi-Fi signal range of the control panel.”); ADT Command,

  ADT.COM, https://www.adt.com/command (last visited Oct. 6, 2022); How to configure Wi-Fi on

  your ADT Command panel,       YOUTUBE.COM,    https://www.youtube.com/watch?v=ZjNP95AeMZ4

  (last visited Oct. 6, 2022); Smart Home, ADT.COM, https://www.adt.com/shop/packages/smart-

  home.html (last visited Oct. 6, 2022) (showing the Secondary Wireless Touchscreen has a “Wi-

  Fi” frequency of operation); What Are Wireless Security Cameras, and Do I Need One?,

  ADT.COM, https://www.adt.com/resources/what-are-wireless-security-cameras (last visited Oct.

  6, 2022) (“ADT cameras use an encrypted wireless protocol known as WPA2, an industry-

  recognized method to limit wireless network access.”); Wireless Outdoor Camera,

  BLUEBYADT.COM, https://www.bluebyadt.com/shop/blue-outdoor-camera.html (last visited Oct. 6,

  2022);       Blue       by      ADT       Doorbell       Camera,        SUPPORT.BLUEBYADT.COM,

  https://support.bluebyadt.com/s/article/Blue-by-ADT-Doorbell-Cameras (last visited Oct. 6,

  2022). Additionally, ADT LLC owns and operates websites for ADT that offer products and

  services to consumers in the United States, in Texas, and in this District. See, e.g., Home Security

  Tyler,   ADT.COM,   https://www.adt.com/local/tx/tyler (last visited Oct. 6, 2022) (Terms of Use

  stating, “These ADT Website Terms and Conditions of Use (the ‘Terms’) govern your use [sic]

  any websites that are owned or operated by ADT LLC, d/b/a ADT Security Services (‘ADT,’ ‘we,’

  ‘us’ or ‘our’), and which contain a link to the Terms (collectively, and together with all services

  available through such websites, the ‘Site’)”); Terms of Service,                BLUEBYADT.COM,

  https://www.bluebyadt.com/legal/terms-of-service/ (last visited Oct. 13, 2022) (“This Agreement



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 17
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 18 of 68 PageID #: 153




  (the ‘Agreement’) is made by and between ADT LLC (‘ADT’) and You (‘Customer’). In this

  Agreement, Customer is sometimes referred to herein as ‘you’ or ‘your’ and the terms ‘we’, ‘us’,

  or ‘our’ means ADT and any of ADT’s parents, subsidiaries, partners, related parties, employees,

  subcontractors, assignees or others that we hire to help us deliver the products and services we

  provide to you under this Agreement.”) Therefore, ADT LLC, alone and in concert with other

  members, segments, companies and/or brands of ADT, its parent entity Defendant ADT Inc. and

  its U.S.-based ADT subsidiaries has purposefully directed its activities at Texas, and should

  reasonably anticipate being brought into this Court, at least on this basis. Through its own conduct

  and through direction and control of its subsidiaries or control by other Defendant ADT Inc., ADT

  LLC has committed acts of direct and/or indirect patent infringement within Texas, and elsewhere

  within the United States, giving rise to this action and/or has established minimum contacts with

  Texas such that personal jurisdiction over ADT LLC would not offend traditional notions of fair

  play and substantial justice.

         25.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(c) and 1400(b). As

  alleged herein, Defendant ADT LLC has committed acts of infringement in this District. As further

  alleged herein, Defendant ADT LLC, via its own operations and/or employees, has a regular and

  established place of business in this District, for example, in Smith County, at 4706 DC Dr, Tyler,

  TX 75701, at 215 Winchester Drive, Suite 105, Tyler, TX 75701, and in Jefferson County, at 7415

  Eastex Plaza Drive, Suite 8, Beaumont, TX 77708, among other ADT locations owned, leased

  and/or operated in this District. Accordingly, ADT LLC may be sued in this district under 28

  U.S.C. § 1400(b).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 18
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 19 of 68 PageID #: 154




         26.   On information and belief, Defendants ADT Inc. and ADT LLC each have significant

  ties to, and presence in, the State of Texas and this District, making venue in this District both

  proper and convenient for this action.

                       THE ASSERTED PATENTS AND TECHNOLOGY
         27.     The Asserted Patents cover various aspects of monitoring, detecting intrusions, and

  encrypting and decrypting wireless communications networks, including networks created

  between Defendants’ smart home devices and including motion detection in wireless

  communications devices for detecting falls.

         28.     The ’678 patent involves detecting intrusions into a wireless local or metropolitan

  area network. The disclosed intrusion detection techniques include monitoring transmission

  between stations of the network, where each station has its own media access layer (MAC) address.

  The monitoring is done to detect failed attempts to authenticate the MAC addresses. Upon

  detection of a number of failed attempts to authenticate, an intrusion alert may be generated.

         29.     The ’572 patent involves providing secure wireless local area networks (LAN). A

  device for securing such a LAN may include a housing with a wireless transceiver carried by the

  housing. A medium access controller (MAC) is also carried by the housing. A cryptography circuit

  may be connected to the MAC controller and the transceiver. The circuit may encrypt both address

  and data information by at least adding a plurality of encrypting bits to be transmitted. And the

  cryptography circuit may decrypt both address and data information upon reception.

         30.     The ’126 patent provides a secure wireless local area network (LAN) utilizing a

  LAN device. This device may include a housing that carries a wireless transceiver and, a media

  access controller (MAC). A cryptography circuit carried by the housing may be connected to the

  MAC and the wireless transceiver. And the cryptography circuit may comprise a volatile memory




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 19
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 20 of 68 PageID #: 155




  provided for storing cryptography information and may also comprise a battery provided for

  maintaining the cryptography information stored on the volatile memory.

         31.     The ’963 patent provides a wireless communications device that includes a radio

  module that wirelessly communicates by receiving or transmitting communications signals in a

  transmitting and/or receiving mode. The device also includes a processor unit that controls wireless

  communication via the radio module and a motion sensor that detects movements or accelerations

  of a predetermined magnitude. The processor unit, which is coupled to the motion sensor and the

  radio module, temporarily puts the radio module into a transmitting or receiving mode, when the

  motion sensor outputs a detection signal.

         32.   On information and belief, a significant portion of the operating revenue of

  Defendants is derived from the manufacture, distribution, sale, servicing, installation and/or use of

  home and business networking, IoT, and smart home products and components, which are

  manufactured in or imported into the United States, distributed to resellers, dealers, and third-party

  manufacturers, and ultimately sold to and used by U.S. consumers. For example, ADT reported

  that its CSB segment had 4,146,023 thousand dollars (4.146 billion U.S. dollars) in revenue and

  its Commercial segment had 1,113,732 thousand dollars (1.114 billion U.S. dollars) in the year

  ended December 31, 2021. See Annual Financial Report, F-17 at p. 96.

         33.   The Asserted Patents cover Defendants’ home and business IoT and smart home

  products and components, software, services, and processes related to same that generally connect

  to other devices in a network or other networks using a wireless protocol, such as Wi-Fi. See, e.g.,

  Smart Home, ADT.COM, https://www.adt.com/shop/packages/smart-home.html (last visited Oct.

  7, 2022) ("Some features, including mobile notifications, remote control, video streaming, and

  video recording require working internet and Wi-Fi.”); What Are Wireless Security Cameras, and



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 20
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 21 of 68 PageID #: 156




  Do I Need One?, ADT.COM, https://www.adt.com/resources/what-are-wireless-security-cameras

  (last visited Oct. 6, 2022) (“ADT cameras use an encrypted wireless protocol known as WPA2, an

  industry-recognized method to limit wireless network access.”). Defendants’ infringing ADT

  products include, but are not limited to, devices and products enabled or compliant with Wi-Fi,

  including without limitation ADT and/or Blue by ADT Doorbell Cameras; Outdoor Security

  Cameras; Indoor Security Cameras; Command Panels; Wireless Touchscreen Panels (e.g.,

  Secondary Wireless Touchscreen); smartphone and/or tablet applications (e.g., ADT SoSecure,

  ADT Control, and ADT Pulse apps); ADT packages (e.g., ADT Smart Home packages) that

  include any of these products; and related accessories and software (all collectively referred to as

  the “Accused Products”). These Accused Products infringe the Asserted Patents by at least their

  manufacture, importation, distribution, sale, and use in the U.S.

         34.   The Asserted Patents cover Accused Products of ADT that utilize the Wi-Fi protocol.

  Examples of such products include ADT Doorbell Cameras, ADT Outdoor Security Cameras,

  ADT Indoor Security Cameras, ADT Command Panels, ADT Secondary Wireless Touchscreens,

  Blue by ADT Doorbell Cameras, Blue by ADT Wireless Indoor Cameras, and Blue by ADT

  Wireless Outdoor Cameras. As shown below, the ADT Doorbell Cameras, ADT Outdoor Security

  Cameras, ADT Indoor Security Cameras, ADT Command Panels, ADT Secondary Wireless

  Touchscreens, Blue by ADT Doorbell Cameras, Blue by ADT Wireless Outdoor Cameras, and

  Blue by ADT Indoor Cameras are Wi-Fi (IEEE 802.11) compliant:




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 21
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 22 of 68 PageID #: 157




  ADT Doorbell Camera, ADT.COM, https://www.adt.com/doorbell-camera (last visited Oct. 7,
  2022); What Are Wireless Security Cameras, and Do I Need One?, ADT.COM,
  https://www.adt.com/resources/what-are-wireless-security-cameras (last visited Oct. 7, 2022)
  (“ADT cameras use an encrypted wireless protocol known as WPA2, an industry-recognized
  method to limit wireless network access.”).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 22
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 23 of 68 PageID #: 158




  Outdoor Security Cameras, ADT.COM, https://www.adt.com/outdoor-security-camera (last visited
  Oct. 7, 2022) (“Only requires a power source and Wi-Fi connection.”); What Are Wireless Security
  Cameras, and Do I Need One?, ADT.COM, https://www.adt.com/resources/what-are-wireless-
  security-cameras (last visited Oct. 7, 2022) (“ADT cameras use an encrypted wireless protocol
  known as WPA2, an industry-recognized method to limit wireless network access.”).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 23
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 24 of 68 PageID #: 159




  Indoor Security Cameras, ADT.COM, https://www.adt.com/indoor-security-camera (last visited
  Oct. 6, 2022) (“Place indoor cameras anywhere in your home within Wi-Fi signal range of the
  control panel.”).




  ADT Command, ADT.COM, https://www.adt.com/command (last visited Oct. 7, 2022);




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 24
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 25 of 68 PageID #: 160




  How to configure Wi-Fi on your ADT Command panel,                           YOUTUBE.COM,
  https://www.youtube.com/watch?v=ZjNP95AeMZ4 (last visited Oct. 7, 2022).




  Smart Home, ADT.COM, https://www.adt.com/shop/packages/smart-home.html (last visited Oct.
  7, 2022) (showing the Secondary Wireless Touchscreen has a “Wi-Fi” frequency of operation).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 25
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 26 of 68 PageID #: 161




  Wireless Outdoor Camera, BLUEBYADT.COM, https://www.bluebyadt.com/shop/blue-outdoor-
  camera.html (last visited Oct. 7, 2022).




  Indoor Camera, BLUEBYADT.COM, https://www.bluebyadt.com/shop/blue-indoor-camera.html
  (last    visited  Oct.    7,    2022);      Cameras      &       Devices,     BLUEBYADT.COM,
  https://www.bluebyadt.com/shop/blue-security-cameras/ (last visited Oct. 7, 2022) (“All Blue by


  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 26
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 27 of 68 PageID #: 162




  ADT cameras communicate via Wi-Fi and require an internet connection with a minimum
  bandwidth of 2 Mbps or higher. You will also need a mobile device with the latest iOS or Android
  OS.”).




  Blue         by        ADT           Doorbell      Camera,        SUPPORT.BLUEBYADT.COM,
  https://support.bluebyadt.com/s/article/Blue-by-ADT-Doorbell-Cameras (last visited Oct. 7,
  2022).
         35.   The Accused Products utilize intrusion detection methods for a local or metropolitan

  area network to infringe at least the ’678, ’572, ’126, and ’963 patents. For example, the IEEE

  802.11 authentication methods utilized by the Accused Products include a TKIP-based method, as

  explained below, that uses a “MIC” to defend against active attacks.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 27
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 28 of 68 PageID #: 163




         36.   Stations (STAs) in an IEEE 802.11 network of the Accused Products associate with

  each other using a robust security network association (RSNA). As described below, RSNA

  supports intrusion detection by employing authentication mechanisms and data frame protection

  mechanisms (such as, temporal key integrity protocol - TKIP) between the STAs. Data is

  exchanged between the STAs in the form of MPDUs (medium access control (MAC) protocol data

  units). The MAC frame (MPDU) comprises a MSDU (information frame) in the frame body, and



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 28
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 29 of 68 PageID #: 164




  four addresses that identify, among others, source MAC address (SA) and destination MAC

  address (DA) for the MSDU.




         37.   In the TKIP protocol of the Accused Products, an MSDU transmitter STA calculates

  cryptographic message integrity code (MIC) using the MAC addresses (SA & DA) corresponding

  to the MSDU. As described below, the transmission is monitored if the MIC (which is obtained



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 29
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 30 of 68 PageID #: 165




  using the MAC addresses) is verified/authenticated at the receiver. MSDUs with invalid MICs are

  discarded and countermeasures are invoked.




         38.   The TKIP MIC implementation of the Accused Products prevents intrusion attacks,

  such as, message redirection by modifying destination/receiver MAC address (DA or RA) and

  impersonation by modifying the source/transmitter MAC address (SA or TA). As described below,

  the transmission is monitored if the MIC (which is obtained using the MAC addresses) is

  verified/authenticated at the receiver. MSDU with an invalid MIC will indicate a modified MAC

  address (SA or DA), thereby resulting in discarding the MSDU and invoking the countermeasures.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 30
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 31 of 68 PageID #: 166




         39.   Upon detecting a first MIC failure, as described below, a countermeasure timer is

  initiated, and a failure event (alert) is reported to the AP by sending a Michael MIC Failure Report

  frame. Upon detecting a second consecutive MIC failure within 60 seconds, i.e., detecting a

  number of failed attempts, the participating STAs are deauthenticated, wherein deauthentication

  involves sending a notification (i.e., generating an alert) to deauthenticate due to an intrusion (2

  consecutive MIC failures has occurred).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 31
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 32 of 68 PageID #: 167




        40.   The Asserted Patents also cover ADT’s Wi-Fi compliant devices, which support

  WPA, WPA2, and/or WPA3 security mechanisms, as described below and in the following

  paragraph. Of the WPA, WPA2 and/or WPA3 security mechanism used by the Accused Products,

  for example, ADT’s smart home Wi-Fi devices, the WPA is based on Temporal Key Integrity

  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 32
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 33 of 68 PageID #: 168




  Protocol (TKIP), while the WPA2 and WPA3 are based on Counter Mode Cipher Block Chaining

  Message Authentication Code Protocol (CCMP). Shown below are exemplary IEEE 802.11

  compliant smart command panels and smart home packages that include a secondary wireless

  touchscreen. The devices each have a housing.




         ADT Command, ADT, https://www.adt.com/command (last visited Oct. 5, 2022).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 33
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 34 of 68 PageID #: 169




  How      to  configure   Wi-Fi    on    your  ADT   Command        panel,    YOUTUBE,
  https://www.youtube.com/watch?app=desktop&v=ZjNP95AeMZ4 (last visited Oct. 5, 2022).




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 34
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 35 of 68 PageID #: 170




  Smart Home, ADT, https://www.adt.com/shop/packages/smart-home.html (last visited Oct. 5,
  2022).
         41.   As shown above, the Accused Products provide easily configurable Wi-Fi settings.

  This capability ascertains the presence of a MAC controller and a Wi-Fi antenna and transceiver

  in the device and provides a secure wireless LAN.

         42.   The Accused Products further utilize a cryptography circuit that implements the

  802.11 protocols authentication techniques, including, for example, TKIP and/or CCMP. Shown

  below is a block diagram from the 802.11 protocol documentation showing the TKIP-based

  cryptography circuit (such as used with WPA) that is utilized in the Accused Products. The circuit

  shown encrypts both address (destination address (DA), source address (SA)) and data information

  (plaintext MSDU) by adding encryptions bits (MIC key) to both the address and data. The

  cryptography circuit of the Accused Products is also configured to decrypt the encrypted address

  and data information.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 35
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 36 of 68 PageID #: 171




         43.    Shown below is a block diagram from the 802.11 protocol documentation showing

  the CCMP-based cryptography circuit (such as used with WPA2) that is utilized in the Accused

  Products. The circuit shown encrypts both address (A2 – MPDU address 2) and data information

  (plaintext MPDU) by adding encryptions bits (temporal key (TK)) to both the address and data.

  The cryptography circuit of the Accused Products is also configured to decrypt the encrypted

  address and data information.

  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 36
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 37 of 68 PageID #: 172




         44.   Defendants also infringe the ’126 patent via products that utilize a volatile memory

  for storing cryptography information utilized in the cryptography circuit and a battery for

  maintaining the cryptography in the volatile memory. As shown in the set-up guide of Blue by

  ADT | Wireless Outdoor Cameras, model no. SCE2R0-29, submitted to the FCC, the camera

  utilizes a battery that provides power to maintain data, including cryptographic information in the



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 37
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 38 of 68 PageID #: 173




  product’s internal (volatile) memory. Such cryptographic information allows data encryption to be

  carried out over a secure wireless 802.11 network.




  See SCE2R0-29 Outdoor Camera | Setup Guide, accessible as a pdf file at
  https://fccid.io/P27SCE2R0 (submitted to the FCC, excerpts from cover page and pages 5-6, and
  9) (last visited Dec. 16, 2022).
         45.   Furthermore, as shown below in pictures of a teardown of ADT’s Outdoor Camera,

  model no. SCE2R0-29, the camera includes a Wi-Fi “module” (e.g., a “Boardcom/ BCM43438”

  model) that has an internal volatile memory for storing data, including cryptographic information.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 38
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 39 of 68 PageID #: 174




  See Internal Photos of EUT, accessible as a pdf file at https://fccid.io/P27SCE2R0 (submitted to
  the FCC, excerpts from Internal Photo.pdf) (last visited Dec. 19, 2022).
         46.   Defendants also infringe the ’963 patent via wireless communication devices that

  detect motion, in particular detecting a fall by a wearer of the device. ADT products include

  “Medical Alert Systems” such as the “On-the-Go” and “Medical Alert Plus” that feature Fall

  Detection, as shown below.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 39
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 40 of 68 PageID #: 175




         47.   The Medical Alert Plus device includes an ADT Health Fall Detection Pendant that

  communicates wirelessly with a base device that “enables you to send an alarm to the emergency

  response center.” As indicated below, the product “provides extra protection by automatically

  sending an alarm if you fall.”




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 40
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 41 of 68 PageID #: 176




         48.   The Fall Detection Pendant is electrically powered and includes a radio module for

  sending radio frequency based alarm signals upon detection of a fall.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 41
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 42 of 68 PageID #: 177




         49.   The Fall Detection Pendant is electrically powered and includes a radio module for

  sending radio frequency based alarm signals upon detection of a fall.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 42
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 43 of 68 PageID #: 178




         50.   The fall detection pendant includes a motion sensor (accelerometer) that senses a fall

  (e.g., sudden change in velocity and direction). The sensor values are then interpreted by the

  pendant's processor to determine if an actual fall has occurred, following which a fall alert is sent.




  Id.



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 43
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 44 of 68 PageID #: 179




                                                 COUNT I
                        (INFRINGEMENT OF U.S. PATENT NO. 7,224,678)
          51.   Plaintiff incorporates paragraphs 1 through 50 herein by reference.

          52.   Plaintiff is the assignee of the ’678 patent, entitled “Wireless local or metropolitan

  area network with intrusion detection features and related methods,” with ownership of all

  substantial rights in the ’678 patent, including the right to exclude others and to enforce, sue, and

  recover damages for past and future infringements.

          53.   The ’678 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’678 patent issued from U.S. Patent Application No.

  10/217,042.

          54.   ADT has and continues to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’678 patent in this District and elsewhere in Texas and

  the United States.

          55.   On information and belief, ADT designs, develops, manufactures, imports,

  distributes, offers to sell, sells, and uses the Accused Products, including via the activities of ADT

  and its parent, subsidiaries, members, segments, companies, brands and/or related entities, such as

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT.

          56.   Defendants each directly infringe the ’678 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or

  products containing the same that incorporate the fundamental technologies covered by the ’678

  patent to, for example, their alter egos, agents, intermediaries, related entities, distributors, dealers,

  importers, customers, parent, subsidiaries, members, segments, companies, brands, and/or

  consumers. Furthermore, on information and belief, Defendants each design the Accused Products


  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 44
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 45 of 68 PageID #: 180




  for U.S. consumers, have made and/or sold and/or continue to make and/or sell the Accused

  Products outside of the United States, deliver those products to related entities, subsidiaries, online

  stores, distribution partners, retailers, showrooms, resellers, dealers, customers and/or other related

  service providers in the United States, or in the case that Defendants deliver the Accused Products

  outside of the United States they do so intending and/or knowing that those products are destined

  for the United States and/or designing those products for sale and use in the United States, thereby

  directly infringing the ’678 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

  Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

  allowing presentation to jury as to “whether accused products manufactured and delivered abroad

  but imported into the United States market by downstream customers … constitute an infringing

  sale under § 271(a)”).

         57.   Furthermore, ADT Inc. directly infringes the ’678 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant ADT

  LLC, and other U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants. Defendants design the Accused Products for U.S. consumers, sell and offer for sale

  those Accused Products in the U.S. directly and to its related entities, and import the Accused

  Products into the United States for its related entities. On information and belief, U.S.-based

  subsidiaries, including at least ADT LLC, conduct activities that constitute direct infringement of

  the ’678 patent under 35 U.S.C. § 271(a) by importing, offering for sale, selling, and/or using those

  Accused Products in the U.S. on behalf of and for the benefit of Defendants. Defendant ADT Inc.

  is vicariously liable for the infringing conduct of Defendant ADT LLC and U.S.-based

  subsidiaries, members, segments, companies and/or brands of ADT (under both the alter ego and

  agency theories). On information and belief, Defendants ADT Inc. and ADT LLC and U.S.-based



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 45
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 46 of 68 PageID #: 181




  subsidiaries members, segments, companies and/or brands of ADT are essentially the same

  company, comprising members, segments, companies and/or brands of ADT. Moreover, ADT

  Inc., as the parent company, along with its related entities, has the right and ability to control the

  infringing activities of those subsidiary entities such that Defendants receive a direct financial

  benefit from that infringement.

         58.   For example, ADT infringes claim 51 of the ’678 patent via the Accused Products

  that utilize 802.11 (Wi-Fi) protocols, including, but not limited to, ADT Doorbell Cameras, ADT

  Outdoor Security Cameras, ADT Indoor Security Cameras, ADT Command Panels, ADT

  Secondary Wireless Touchscreens, Blue by ADT Doorbell Cameras, Blue by ADT Wireless

  Outdoor Cameras, Blue by ADT Indoor Cameras, ADT SoSecure apps, ADT Control apps, ADT

  Pulse apps, and related accessories and software.

         59.   Those Accused Products include “[a]n intrusion detection method for a wireless local

  or metropolitan area network comprising a plurality of stations” comprising the limitations of

  claim 51. The technology discussion above and the example Accused Products provide context for

  Plaintiff’s allegations that each of those limitations are met. For example, the Accused Products

  include the steps of transmitting data between the plurality of stations using a media access layer

  (MAC), each of the stations having a respective MAC address associated therewith; monitoring

  transmissions among the plurality of stations to detect failed attempts to authenticate MAC

  addresses; and generating an intrusion alert based upon detecting a number of failed attempts to

  authenticate a MAC address.

         60.   At a minimum, ADT has known of the ’678 patent at least as early as the filing date

  of this complaint. In addition, ADT has known about its infringement of the L3Harris (“Harris”)

  patent portfolio, which includes the ’678 patent, since at least its receipt of a letter from Acacia



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 46
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 47 of 68 PageID #: 182




  Research Corporation, on behalf of Stingray, a subsidiary of Acacia Research Group, to ADT

  Security Services dated July 9, 2020, requesting ADT to discuss licensing the patent portfolio

  including the ’678 patent.

          61.   On information and belief, since at least the above-mentioned date when ADT was

  on notice of its infringement, Defendants have each actively induced, under 35 U.S.C. § 271(b),

  importers, online stores, distribution partners, retailers, reseller partners, dealers, installers, OEMs,

  consumers, and other related service providers that make, import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one

  or more claims of the ’678 patent to directly infringe one or more claims of the ’678 patent by

  making, using, offering for sale, selling, and/or importing the Accused Products. Since at least the

  date and/or dates of notice referenced above, Defendants each do so with knowledge, or with

  willful blindness of the fact, that the induced acts constitute infringement of the ’678 patent. On

  information and belief, Defendants each intend to cause, and have taken affirmative steps to

  induce, infringement by manufacturers, importers, online stores, distribution partners, retailers,

  reseller partners, dealers, OEMs, installers, consumers, and other related service providers through

  at least, inter alia, the following activities: creating advertisements that promote the infringing use

  of the Accused Products; creating and/or maintaining established distribution channels for the

  Accused Products into and within the United States; manufacturing and/or placing orders to

  manufacture the Accused Products in conformity with U.S. laws and regulations; distributing or

  making available instructions or manuals for these products to purchasers and prospective buyers;

  testing wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g., OUR

  SERVICES, ADT.COM, https://www.adt.com/services (last visited Oct. 7, 2022) (providing



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 47
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 48 of 68 PageID #: 183




  consumers with “Free in-home consultation,” “Expert installation & repairs,” and “Personal

  customer support”); see also ADT, YOUTUBE.COM, https://www.youtube.com/c/adt (providing

  consumers with ADT-produced how-to videos related to ADT products) (last visited Oct. 7, 2022).

  Furthermore, ADT markets and offers smartphone and tablet interfaces and its application software

  (e.g., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, provide remote control for ADT products, provide other services

  supporting use of the Accused Products and work with smart home platforms including at least

  Google Assistant, Amazon Alexa, and/or Apple products to control ADT products with voice

  commands or connect with other connected products. See Apps for your mobile lifestyle, ADT.COM,

  https://www.adt.com/apps (last visited Oct. 6, 2022) (showing ADT SoSecure app, ADT Control

  app, indicating that ADT apps enable integration with smart home platforms, and noting

  integration of Google Assistant-enabled Google Nest Mini with the ADT system enables voice

  commands of security, locks, lights, music and more); ADT PULSE APP,                      ADT.COM,

  https://www.adt.com/pulse (last visited Oct. 6, 2022) (stating “ADT Pulse works with your

  favorite devices” and showing logos for “Hey Google” and “amazon alexa”). Such compatibility

  provides convenience and added functionality that induces consumers to use ADT products,

  including at least the smartphone and tablet Wi-Fi interfaces utilizing WiFi apps and other

  protocols in networks with other third-party devices, and thus further infringe the ’678 patent.

         62.   On information and belief, despite having knowledge of the patent portfolio including

  the ’678 patent and knowledge that it is directly and/or indirectly infringing one or more claims of

  the portfolio, ADT has nevertheless continued its infringing conduct and disregarded an

  objectively high likelihood of infringement. Each of Defendants infringing activities relative to the

  ’678 patent have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate,



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 48
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 49 of 68 PageID #: 184




  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced

  damages up to three times the amount found or assessed.

         63.    Plaintiff Stingray has been damaged as a result of ADT’s infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an

  amount that adequately compensates Stingray for ADT’s infringements, which, by law, cannot be

  less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

  U.S.C. § 284.

                                              COUNT II

                       (INFRINGEMENT OF U.S. PATENT NO. 7,440,572)

         64.    Plaintiff incorporates paragraphs 1 through 63 herein by reference.

         65.    Plaintiff is the assignee of the ’572 patent, entitled “Secure wireless LAN device and

  associated methods,” with ownership of all substantial rights in the ’572 patent, including the right

  to exclude others and to enforce, sue, and recover damages for past and future infringements.

         66.    The ’572 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’572 patent issued from U.S. Patent Application No.

  09/760,619.

         67.    ADT has and continues to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’572 patent in this District and elsewhere in Texas and

  the United States.

         68.    On information and belief, ADT designs, develops, manufactures, imports,

  distributes, offers to sell, sells, and uses the Accused Products, including via the activities of ADT

  and its parent, subsidiaries, members, segments, companies, brands and/or related entities, such as


  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 49
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 50 of 68 PageID #: 185




  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT.

          69.   Defendants each directly infringe the ’572 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or

  products containing the same that incorporate the fundamental technologies covered by the ’572

  patent to, for example, their alter egos, agents, intermediaries, related entities, distributors, dealers,

  importers, customers, parent, subsidiaries, members, segments, companies, brands, and/or

  consumers. Furthermore, on information and belief, Defendants each design the Accused Products

  for U.S. consumers, have made and/or sold and/or continue to make and/or sell the Accused

  Products outside of the United States, deliver those products to related entities, subsidiaries, online

  stores, distribution partners, retailers, showrooms, resellers, dealers, customers and/or other related

  service providers in the United States, or in the case that Defendants deliver the Accused Products

  outside of the United States they do so intending and/or knowing that those products are destined

  for the United States and/or designing those products for sale and use in the United States, thereby

  directly infringing the ’572 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

  Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

  allowing presentation to jury as to “whether accused products manufactured and delivered abroad

  but imported into the United States market by downstream customers … constitute an infringing

  sale under § 271(a)”).

          70.   Furthermore, ADT Inc. directly infringes the ’572 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant ADT

  LLC, and other U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants. Defendants design the Accused Products for U.S. consumers, sell and offer for sale



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 50
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 51 of 68 PageID #: 186




  those Accused Products in the U.S. directly and to its related entities, and import the Accused

  Products into the United States for its related entities. On information and belief, U.S.-based

  subsidiaries, members, segments, companies and/or brands of ADT, including at least ADT LLC,

  conduct activities that constitute direct infringement of the ’572 patent under 35 U.S.C. § 271(a)

  by importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

  of and for the benefit of Defendants. Defendant ADT Inc. is vicariously liable for the infringing

  conduct of Defendant ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT (under both the alter ego and agency theories). On information and belief,

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT are essentially the same company, comprising members, segments,

  companies and/or brands of ADT. Moreover, ADT Inc., as the parent company, along with its

  related entities, has the right and ability to control the infringing activities of those subsidiary

  entities such that Defendants receive a direct financial benefit from that infringement.

         71.   For example, ADT infringes claim 1 of the ’572 patent via the Accused Products that

  utilize 802.11 (Wi-Fi) protocols, including, but not limited to, ADT Doorbell Cameras, ADT

  Outdoor Security Cameras, ADT Indoor Security Cameras, ADT Command Panels, ADT

  Secondary Wireless Touchscreens, Blue by ADT Doorbell Cameras, Blue by ADT Wireless

  Outdoor Cameras, Blue by ADT Indoor Cameras, ADT SoSecure apps, ADT Control apps, ADT

  Pulse apps, and related accessories and software.

         72.   Those Accused Products include “[a] secure wireless local area network (LAN)

  device” comprising the limitations of claim 1. The technology discussion above and the example

  Accused Products provide context for Plaintiff’s allegations that each of those limitations are met.

  For example, the Accused Products include a housing; a wireless transceiver carried by said



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 51
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 52 of 68 PageID #: 187




  housing; a medium access controller (MAC) carried by said housing; and a cryptography circuit

  carried by said housing and connected to said MAC and said wireless transceiver for encrypting

  both address and data information for transmission by at least adding a plurality of encrypting bits

  to both the address and the data information, and for decrypting both the address and the data

  information upon reception.

         73.   ADT further infringes the ’572 patent via 35 U.S.C. § 271(g) by selling, offering to

  sell, and/or importing IoT and smart home devices, their components, and/or products containing

  same, that are made by a process covered by the ’572 patent. On information and belief, the

  infringing IoT and smart home devices, their components, and/or products containing same are not

  materially changed by subsequent processes, and they are neither trivial nor nonessential

  components of another product.

         74.   ADT further infringes based on the importation, sale, offer for sale, or use of the

  Accused Products that are made from a process covered by the ’572 patent. To the extent that

  Plaintiff made reasonable efforts to determine whether the patented processes of the ’572 patent

  were used in the production of the Accused Products but was not able to so determine, the Accused

  Products should be presumed by this Court to have been so made, pursuant to 35 U.S.C. § 295.

         75.   At a minimum, ADT has known of the ’572 patent at least as early as the filing date

  of this complaint. In addition, ADT has known about its infringement of the L3Harris (“Harris”)

  patent portfolio, which includes the ‘572 patent, since at least its receipt of a letter from Acacia

  Research Corporation, on behalf of Stingray, a subsidiary of Acacia Research Group, to ADT

  Security Services dated July 9, 2020, requesting ADT to discuss licensing the patent portfolio

  including the ’572 patent.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 52
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 53 of 68 PageID #: 188




          76.   On information and belief, since at least the above-mentioned date when ADT was

  on notice of its infringement, Defendants have each actively induced, under 35 U.S.C. § 271(b),

  importers, online stores, distribution partners, retailers, reseller partners, dealers, installers, OEMs,

  consumers, and other related service providers that make, import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one

  or more claims of the ’572 patent to directly infringe one or more claims of the ’572 patent by

  making, using, offering for sale, selling, and/or importing the Accused Products. Since at least the

  date of notice referenced above, Defendants each do so with knowledge, or with willful blindness

  of the fact, that the induced acts constitute infringement of the ’572 patent. On information and

  belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

  by manufacturers, importers, online stores, distribution partners, retailers, reseller partners,

  dealers, OEMs, installers, consumers, and other related service providers through at least, inter

  alia, the following activities: creating advertisements that promote the infringing use of the

  Accused Products; creating and/or maintaining established distribution channels for the Accused

  Products into and within the United States; manufacturing and/or placing orders to manufacture

  the Accused Products in conformity with U.S. laws and regulations; distributing or making

  available instructions or manuals for these products to purchasers and prospective buyers; testing

  wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g., OUR

  SERVICES, ADT.COM, https://www.adt.com/services (last visited Oct. 7, 2022) (providing

  consumers with “Free in-home consultation,” “Expert installation & repairs,” and “Personal

  customer support”); see also ADT, YOUTUBE.COM, https://www.youtube.com/c/adt (providing

  consumers with ADT-produced how-to videos related to ADT products) (last visited Oct. 7, 2022).



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 53
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 54 of 68 PageID #: 189




  Furthermore, ADT markets and offers smartphone and tablet interfaces and its application software

  (e.g., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, provide remote control for ADT products, provide other services

  supporting use of the Accused Products and work with smart home platforms including at least

  Google Assistant, Amazon Alexa, and/or Apple products to control ADT products with voice

  commands or connect with other connected products. See Apps for your mobile lifestyle, ADT.COM,

  https://www.adt.com/apps (last visited Oct. 6, 2022) (showing ADT SoSecure app, ADT Control

  app, indicating that ADT apps enable integration with smart home platforms, and noting

  integration of Google Assistant-enabled Google Nest Mini with the ADT system enables voice

  commands of security, locks, lights, music and more); ADT PULSE APP,                      ADT.COM,

  https://www.adt.com/pulse (last visited Oct. 6, 2022) (stating “ADT Pulse works with your

  favorite devices” and showing logos for “Hey Google” and “amazon alexa”). Such compatibility

  provides convenience and added functionality that induces consumers to use ADT products,

  including at least the smartphone and tablet Wi-Fi apps and other interfaces utilizing WiFi

  protocols in networks with other third-party devices, and thus further infringe the ’572 patent.

         77.   On information and belief, despite having knowledge of the patent portfolio including

  the ’572 patent and knowledge that it is directly and/or indirectly infringing one or more claims of

  the portfolio, ADT has nevertheless continued its infringing conduct and disregarded an

  objectively high likelihood of infringement. Each of Defendants infringing activities relative to the

  ’572 patent have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate,

  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced

  damages up to three times the amount found or assessed.



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 54
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 55 of 68 PageID #: 190




         78.   Plaintiff Stingray has been damaged as a result of ADT’s infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an

  amount that adequately compensates Stingray for ADT’s infringements, which, by law, cannot be

  less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

  U.S.C. § 284.

                                              COUNT III
                        (INFRINGEMENT OF U.S. PATENT NO. 7,441,126)
         79.   Plaintiff incorporates paragraphs 1 through 78 herein by reference.

         80.   Plaintiff is the assignee of the ’126 patent, entitled “Secure wireless LAN device

  including tamper resistant feature and associated method,” with ownership of all substantial rights

  in the ’126 patent, including the right to exclude others and to enforce, sue, and recover damages

  for past and future infringements

         81.   The ’126 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’126 patent issued from U.S. Patent Application No.

  09/761,173 filed on January 16, 2001.

         82.   ADT has and continues to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’126 patent in this District and elsewhere in Texas and

  the United States.

         83.   On information and belief, ADT designs, develops, manufactures, imports,

  distributes, offers to sell, sells, and uses the Accused Products, including via the activities of ADT

  and its parent, subsidiaries, members, segments, companies, brands and/or related entities, such as

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 55
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 56 of 68 PageID #: 191




          84.   Defendants each directly infringe the ’126 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or

  products containing the same that incorporate the fundamental technologies covered by the ’126

  patent to, for example, their alter egos, agents, intermediaries, related entities, distributors, dealers,

  importers, customers, parent, subsidiaries, members, segments, companies, brands, and/or

  consumers. Furthermore, on information and belief, Defendants each design the Accused Products

  for U.S. consumers, have made and/or sold and/or continue to make and/or sell the Accused

  Products outside of the United States, deliver those products to related entities, subsidiaries, online

  stores, distribution partners, retailers, showrooms, resellers, dealers, customers and/or other related

  service providers in the United States, or in the case that Defendants deliver the Accused Products

  outside of the United States they do so intending and/or knowing that those products are destined

  for the United States and/or designing those products for sale and use in the United States, thereby

  directly infringing the ’126 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

  Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

  allowing presentation to jury as to “whether accused products manufactured and delivered abroad

  but imported into the United States market by downstream customers … constitute an infringing

  sale under § 271(a)”).

          85.   Furthermore, ADT Inc. directly infringes the ’126 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant ADT

  LLC, and other U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants. Defendants design the Accused Products for U.S. consumers, sell and offer for sale

  those Accused Products in the U.S. directly and to its related entities, and import the Accused

  Products into the United States for its related entities. On information and belief, U.S.-based



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 56
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 57 of 68 PageID #: 192




  subsidiaries, members, segments, companies and/or brands of ADT, including at least ADT LLC,

  conduct activities that constitute direct infringement of the ’126 patent under 35 U.S.C. § 271(a)

  by importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

  of and for the benefit of Defendants. Defendant ADT Inc. is vicariously liable for the infringing

  conduct of Defendant ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT (under both the alter ego and agency theories). On information and belief,

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT are essentially the same company, comprising members, segments,

  companies and/or brands of ADT. Moreover, ADT Inc., as the parent company, along with its

  related entities, has the right and ability to control the infringing activities of those subsidiary

  entities such that Defendants receive a direct financial benefit from that infringement.

         86.   For example, Defendants infringe claim 1 of the ’126 patent via the Accused Products

  that utilize 802.11 (Wi-Fi) protocols, including, but not limited to Defendants’ infringing Accused

  Products that are enabled or compliant with Wi-Fi and that utilize a battery and a volatile memory

  for the storage of device data, including cryptographic data. Such Accused Products include, but

  are not limited to, security touchscreens (e.g., ADT’s Secondary Wireless Touchscreen) and

  security cameras (e.g., Blue by ADT |Wireless Outdoor Camera and Blue by ADT | Indoor

  Camera).

         87.   Those Accused Products include “[a] secure wireless local area network (LAN)

  device” comprising the limitations of claim 1. The technology discussion above and the example

  Accused Products provide context for Plaintiff’s allegations that each of those limitations are met.

  For example, the Accused Products include a housing; a wireless transceiver carried by said

  housing; a media access controller (MAC) carried by said housing; and a cryptography circuit



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 57
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 58 of 68 PageID #: 193




  carried by said housing and connected to said MAC and said wireless transceiver, said

  cryptography circuit comprising at least one volatile memory for storing the cryptography

  information, and a battery for maintaining the cryptography information in said at least one volatile

  memory.

          88.   At a minimum, ADT has known of the ’126 patent at least as early as the filing date

  of this complaint. In addition, ADT has known about its infringement of the L3Harris (“Harris”)

  patent portfolio, which includes the ‘126 patent, since at least its receipt of a letter from Acacia

  Research Corporation, on behalf of Stingray, a subsidiary of Acacia Research Group, to ADT

  Security Services dated July 9, 2020, requesting ADT to discuss licensing the patent portfolio

  including the ’126 patent.

          89.   On information and belief, since at least the above-mentioned date when ADT was

  on notice of its infringement, Defendants have each actively induced, under 35 U.S.C. § 271(b),

  importers, online stores, distribution partners, retailers, reseller partners, dealers, installers, OEMs,

  consumers, and other related service providers that make, import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one

  or more claims of the ’126 patent to directly infringe one or more claims of the ’126 patent by

  making, using, offering for sale, selling, and/or importing the Accused Products. Since at least the

  date of notice referenced above, Defendants each do so with knowledge, or with willful blindness

  of the fact, that the induced acts constitute infringement of the ’126 patent. On information and

  belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

  by manufacturers, importers, online stores, distribution partners, retailers, reseller partners,

  dealers, OEMs, installers, consumers, and other related service providers through at least, inter

  alia, the following activities: creating advertisements that promote the infringing use of the



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 58
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 59 of 68 PageID #: 194




  Accused Products; creating and/or maintaining established distribution channels for the Accused

  Products into and within the United States; manufacturing and/or placing orders to manufacture

  the Accused Products in conformity with U.S. laws and regulations; distributing or making

  available instructions or manuals for these products to purchasers and prospective buyers; testing

  wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g., OUR

  SERVICES, ADT.COM, https://www.adt.com/services (last visited Oct. 7, 2022) (providing

  consumers with “Free in-home consultation,” “Expert installation & repairs,” and “Personal

  customer support”); see also ADT, YOUTUBE.COM, https://www.youtube.com/c/adt (providing

  consumers with ADT-produced how-to videos related to ADT products) (last visited Oct. 7, 2022).

  Furthermore, ADT markets and offers smartphone and tablet interfaces and its application software

  (e.g., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, provide remote control for ADT products, provide other services

  supporting use of the Accused Products and work with smart home platforms including at least

  Google Assistant, Amazon Alexa, and/or Apple products to control ADT products with voice

  commands or connect with other connected products. See Apps for your mobile lifestyle, ADT.COM,

  https://www.adt.com/apps (last visited Oct. 6, 2022) (showing ADT SoSecure app, ADT Control

  app, indicating that ADT apps enable integration with smart home platforms, and noting

  integration of Google Assistant-enabled Google Nest Mini with the ADT system enables voice

  commands of security, locks, lights, music and more); ADT PULSE APP,                     ADT.COM,

  https://www.adt.com/pulse (last visited Oct. 6, 2022) (stating “ADT Pulse works with your

  favorite devices” and showing logos for “Hey Google” and “amazon alexa”). Such compatibility

  provides convenience and added functionality that induces consumers to use ADT products,



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 59
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 60 of 68 PageID #: 195




  including at least the smartphone and tablet Wi-Fi apps and other interfaces utilizing WiFi

  protocols in networks with other third-party devices, and thus further infringe the ’126 patent.

         90.    On information and belief, despite having knowledge of the patent portfolio including

  the ’126 patent and knowledge that it is directly and/or indirectly infringing one or more claims of

  the portfolio, ADT has nevertheless continued its infringing conduct and disregarded an

  objectively high likelihood of infringement. Each of Defendants infringing activities relative to the

  ’126 patent have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate,

  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced

  damages up to three times the amount found or assessed.

         91.    Plaintiff Stingray has been damaged as a result of ADT’s infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an

  amount that adequately compensates Stingray for ADT’s infringements, which, by law, cannot be

  less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

  U.S.C. § 284.

                                              COUNT IV
                        (INFRINGEMENT OF U.S. PATENT NO. 7,986,963)
         92.    Plaintiff incorporates paragraphs 1 through 91 herein by reference.

         93.    Plaintiff is the assignee of the ’963 patent, entitled “Wireless Communication

  Device,” with ownership of all substantial rights in the ’963 patent, including the right to exclude

  others and to enforce, sue, and recover damages for past and future infringements

         94.    The ’963 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’963 patent issued from U.S. Patent Application No.

  12/087,135.


  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 60
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 61 of 68 PageID #: 196




          95.   ADT has and continues to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’963 patent in this District and elsewhere in Texas and

  the United States.

          96.   On information and belief, ADT designs, develops, manufactures, imports,

  distributes, offers to sell, sells, and uses the Accused Products, including via the activities of ADT

  and its parent, subsidiaries, members, segments, companies, brands and/or related entities, such as

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT.

          97.   Defendants each directly infringe the ’963 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or

  products containing the same that incorporate the fundamental technologies covered by the ’963

  patent to, for example, their alter egos, agents, intermediaries, related entities, distributors, dealers,

  importers, customers, parent, subsidiaries, members, segments, companies, brands, and/or

  consumers. Furthermore, on information and belief, Defendants each design the Accused Products

  for U.S. consumers, have made and/or sold and/or continue to make and/or sell the Accused

  Products outside of the United States, deliver those products to related entities, subsidiaries, online

  stores, distribution partners, retailers, showrooms, resellers, dealers, customers and/or other related

  service providers in the United States, or in the case that Defendants deliver the Accused Products

  outside of the United States they do so intending and/or knowing that those products are destined

  for the United States and/or designing those products for sale and use in the United States, thereby

  directly infringing the ’963 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

  Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

  allowing presentation to jury as to “whether accused products manufactured and delivered abroad



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 61
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 62 of 68 PageID #: 197




  but imported into the United States market by downstream customers … constitute an infringing

  sale under § 271(a)”).

         98.   Furthermore, ADT Inc. directly infringes the ’963 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant ADT

  LLC, and other U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants. Defendants design the Accused Products for U.S. consumers, sell and offer for sale

  those Accused Products in the U.S. directly and to its related entities, and import the Accused

  Products into the United States for its related entities. On information and belief, U.S.-based

  subsidiaries, members, segments, companies and/or brands of ADT, including at least ADT LLC,

  conduct activities that constitute direct infringement of the ’963 patent under 35 U.S.C. § 271(a)

  by importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

  of and for the benefit of Defendants. Defendant ADT Inc. is vicariously liable for the infringing

  conduct of Defendant ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT (under both the alter ego and agency theories). On information and belief,

  Defendants ADT Inc. and ADT LLC and U.S.-based subsidiaries, members, segments, companies

  and/or brands of ADT are essentially the same company, comprising members, segments,

  companies and/or brands of ADT. Moreover, ADT Inc., as the parent company, along with its

  related entities, has the right and ability to control the infringing activities of those subsidiary

  entities such that Defendants receive a direct financial benefit from that infringement.

         99.   For example, Defendants infringe claim 1 of the ’963 patent via the Accused Products

  that Defendants also infringe the ’963 patent via wireless communication devices that detect

  motion, in particular detecting a fall by a wearer of the device. Such Accused Products include,




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 62
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 63 of 68 PageID #: 198




  but are not limited to, “Medical Alert Systems” such as the “On-the-Go” and “Medical Alert Plus”

  that feature Fall Detection.

          100. Those Accused Products include “[a] wireless communication device” comprising

  the limitations of claim 1. The technology discussion above and the example Accused Products

  provide context for Plaintiff’s allegations that each of those limitations are met. For example, the

  Accused Products include an electrically powered radio module for wireless communication by

  receiving or transmitting communication signals in a transmitting and/or receiving mode; an

  electrically powered processor unit for controlling the wireless communication via the radio

  module; a motion sensor for detecting movements or accelerations of the communication device,

  the motion sensor outputting a detection signal to the processor unit when movements or

  accelerations of a predetermined magnitude occur; and wherein the processor unit is coupled to

  the motion sensor and the radio module in such a way that when the at least one detection signal

  of the motion sensor is output, the processor unit temporarily puts the radio module into the

  transmitting or receiving mode.

          101. At a minimum, ADT has known of the ’963 patent at least as early as the filing date

  of this complaint. In addition, ADT has known about its infringement of the L3Harris (“Harris”)

  patent portfolio, which includes the ‘963 patent, since at least its receipt of a letter from Acacia

  Research Corporation, on behalf of Stingray, a subsidiary of Acacia Research Group, to ADT

  Security Services dated July 9, 2020, requesting ADT to discuss licensing the patent portfolio

  including the ’963 patent.

          102. On information and belief, since at least the above-mentioned date when ADT was

  on notice of its infringement, Defendants have each actively induced, under 35 U.S.C. § 271(b),

  importers, online stores, distribution partners, retailers, reseller partners, dealers, installers, OEMs,



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 63
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 64 of 68 PageID #: 199




  consumers, and other related service providers that make, import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one

  or more claims of the ’963 patent to directly infringe one or more claims of the ’963 patent by

  making, using, offering for sale, selling, and/or importing the Accused Products. Since at least the

  date of notice referenced above, Defendants each do so with knowledge, or with willful blindness

  of the fact, that the induced acts constitute infringement of the ’963 patent. On information and

  belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

  by manufacturers, importers, online stores, distribution partners, retailers, reseller partners,

  dealers, OEMs, installers, consumers, and other related service providers through at least, inter

  alia, the following activities: creating advertisements that promote the infringing use of the

  Accused Products; creating and/or maintaining established distribution channels for the Accused

  Products into and within the United States; manufacturing and/or placing orders to manufacture

  the Accused Products in conformity with U.S. laws and regulations; distributing or making

  available instructions or manuals for these products to purchasers and prospective buyers; testing

  wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g.,

  Health & Medical Alert FAQs, ADT, https://www.adt.com/help/health (last visited Dec. 19, 2022)

  (providing product support to users and explaining that “all Detection can alert a trained ADT

  Medical Alert Specialist in the event of a fall, even if the help button hasn't been pushed.”

         103. On information and belief, despite having knowledge of the patent portfolio including

  the ’963 patent and knowledge that it is directly and/or indirectly infringing one or more claims of

  the portfolio, ADT has nevertheless continued its infringing conduct and disregarded an

  objectively high likelihood of infringement. Each of Defendants infringing activities relative to the



  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 64
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 65 of 68 PageID #: 200




  ’963 patent have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate,

  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced

  damages up to three times the amount found or assessed.

         104. Plaintiff Stingray has been damaged as a result of ADT’s infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an

  amount that adequately compensates Stingray for ADT’s infringements, which, by law, cannot be

  less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

  U.S.C. § 284.

                                            CONCLUSION
         105. Plaintiff is entitled to recover from Defendants the damages sustained by Plaintiff

  as a result of Defendants’ wrongful acts in an amount subject to proof at trial, which, by law,

  cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court.

         106. Plaintiff has incurred and will incur attorneys’ fees, costs, and expenses in the

  prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

  within the meaning of 35 U.S.C. § 285, and Plaintiff is entitled to recover its reasonable and

  necessary attorneys’ fees, costs, and expenses.

                                           JURY DEMAND
         107. Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules

  of Civil Procedure.

                                       PRAYER FOR RELIEF
         108. Plaintiff requests that the Court find in its favor and against Defendants, and that

  the Court grant Plaintiff the following relief:

          a. A judgment that Defendants have infringed the Asserted Patents as alleged herein,


  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 65
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 66 of 68 PageID #: 201




            directly and/or indirectly by way of inducing infringement of such patents;

         b. A judgment for an accounting of damages sustained by Plaintiff as a result of the acts

            of infringement by Defendants;

         c. A judgment and order requiring Defendants to pay Plaintiff damages under 35 U.S.C.

            § 284, including up to treble damages as provided by 35 U.S.C. § 284, and any

            royalties determined to be appropriate;

         d. A judgment and order requiring Defendants to pay Plaintiff pre-judgment and post-

            judgment interest on the damages awarded;

         e. A judgment and order finding this to be an exceptional case and requiring Defendants

            to pay the costs of this action (including all disbursements) and attorneys’ fees as

            provided by 35 U.S.C. § 285; and

         f. Such other and further relief as the Court deems just and equitable.




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 66
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 67 of 68 PageID #: 202




   Dated: December 21, 2022               Respectfully submitted,

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  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 67
Case 2:22-cv-00420-JRG-RSP Document 17 Filed 12/21/22 Page 68 of 68 PageID #: 203




                                 CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing PLAINTIFF’S FIRST AMENDED

  COMPLAINT FOR PATENT INFRINGEMENT was filed electronically in compliance with

  Local Rule CV-5(a). Therefore, this document was served on all counsel who are deemed to have

  consented to electronic service on December 21, 2022.

                                                           /s/ Marcus Benavides
                                                           MARCUS BENAVIDES




  PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT – Page 68
